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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION


UNITED STATES OF AMERICA                §
                                        §
v.                                      §            C.R. NO. H-03-363
                                        §
DANIEL BAYLY,                           §
JAMES BROWN, and                        §
ROBERT FURST                            §


                        ORDER ON MOTIONS TO DISMISS


       Pending are Defendants’ Motions to Dismiss (Documents Nos. 952

and    964).1     After    having    carefully   considered    the   motions,

responses, replies, and the applicable case law, and after having

heard counsels’ oral arguments on the same, the Court concludes for

the reasons that follow that the motions should be denied.


                                    Background


       Defendants Brown, Bayly, and Furst (collectively “Defendants”)

move to dismiss the Third Superseding Indictment from which the

honest services theory has been struck.              See United States v.

Brown, 459 F.3d 509 (5th Cir. 2006).             Defendants challenge the

substantive wire fraud charges in Counts Two and Three, and the

conspiracy to commit wire fraud charge in Count One, alleging that

(1) the Indictment fails to allege facts that Defendants sought to


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       Defendant Robert Furst moved to join these motions, which
the Court granted by Order dated September 25, 2007. Document No.
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“obtain” anything from the putative victims; (2) the allegations do

not articulate the deprivation of a cognizable property interest on

the part of Enron’s shareholders; and (3) Enron itself was not a

victim of the alleged wire fraud scheme.        Defendants also contend

that the conspiracy charge cannot be based on 15 U.S.C. § 78m(b),

which    criminalizes   the   falsification   of   corporate    books   and

records, because § 78m(b) applies only to “issuers” of securities.


                               Discussion


        “An indictment is sufficient if it contains the elements of

the offense charged, informs the defendant of the charges, and

enables the defendant to plead acquittal or conviction and avoid

future prosecutions for the same offense.” United States v. Hatch,

926 F.2d 387, 391-92 (5th Cir. 1991); see also United States v.

Debrow, 74 S. Ct. 113, 115 (1957) (holding that an indictment must

“clearly inform[] the defendants of that with which they [are]

accused, so as to enable them to prepare their defense and to plead

the judgment in bar of any further prosecutions for the same

offense”).     “In reviewing a challenge to an indictment alleging

that it fails to state an offense, the court is required to take

the allegations of the indictment as true and to determine whether

an offense has been stated.”     United States v. Crow, 164 F.3d 229,

234 (5th Cir. 1999); see also United States v. Kay, 359 F.3d 738,

742 (5th Cir. 2004).


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A.     Substantive Wire Fraud and Conspiracy to Commit Wire Fraud


       1.    “Obtain” Versus “Deprive” in 18 U.S.C. § 1343


       Defendants    contend    that   the   charges   of   wire   fraud   and

conspiracy to commit wire fraud must be dismissed because the

Indictment fails to allege any facts that Defendants sought to

“obtain” for themselves any money or property from the putative

victims.     See Document No. 964 at 7-11; Document No. 952 at 14-15.

According to Defendants, “the only schemes ‘to defraud’ that are

actionable under the wire fraud statute are those that are aimed at

actual or attempted property acquisition.”           Document No. 964 at 9.

On this proposition, the circuits are split.                Compare Monterey

Plaza Hotel Ltd. v. Local 483, 215 F.3d 923, 926-27 (9th Cir. 2000)

(requiring that a defendant seek to obtain money or property),

United States v. Walters, 997 F.2d 1219, 1224-27 (7th Cir. 1993)

(same), and United States v. Baldinger, 838 F.2d 176, 180 (6th Cir.

1988) (same), with Porcelli v. United States, 404 F.3d 157, 162 (2d

Cir. 2005) (concluding that “the defendant does not need to

literally ‘obtain’ money or property to violate the statute”);

United States v. Hedaithy, 392 F.3d 580, 601-02 (3d Cir. 2004)

(same); and United States v. Welch, 327 F.3d 1081, 1106-07 (10th

Cir. 2003) (same).       The Fifth Circuit appears not to have directly

discussed this issue.




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     The starting point for interpreting statutes “must be the

language of the statutes themselves.”           United States v. Anderez,

661 F.2d 404, 406 (5th Cir. 1981).         Title 18, Section 1343, of the

United States Code provides:


     Whoever, having devised or intending to devise any scheme
     or artifice to defraud, or for obtaining money or
     property by means of false or fraudulent pretenses,
     representations, or promises, transmits or causes to be
     transmitted by means of wire . . . in interstate or
     foreign commerce . . . shall be fined under this title or
     imprisoned not more than 20 years, or both.


18 U.S.C. § 1343.        The offenses of wire fraud and its counterpart,

the mail fraud statute, § 1341,2 contain two basic elements:

“(1) having devised or intending to devise a scheme to defraud (or

to perform specified fraudulent acts), and (2) use of the mail [or

wires] for the purpose of executing, or attempting to execute, the

scheme (or specified fraudulent acts).”           Carter v. United States,

120 S. Ct. 2159, 2165 (2000) (quoting Schmuck v. United States, 109

S. Ct. 1443, 1453 (1989)).          As the Fifth Circuit has held, the

first    element   may    be   satisfied   by   proving   either:   (1)   “the

defendant devised a scheme or artifice to defraud . . . , or

(2) the defendant devised a scheme or artifice to engage in one of

the . . . fraudulent acts specified” in the statute. United States


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       “The Supreme Court has said that because the mail and wire
fraud statutes share the same language in relevant part, the same
analysis applies to each.” United States v. Mills, 199 F.3d 184,
188 (5th Cir. 1999) (citing Carpenter v. United States, 108 S. Ct.
316, 320 n.6 (1987)).

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v. Caldwell, 302 F.3d 399, 406 (5th Cir. 2002).         Under both § 1341

and § 1343, the “fraudulent acts specified” include “[to] obtain[ ]

money or property by means of false or fraudulent pretenses,

representations, or promises . . . .”       See id.; 18 U.S.C. §§ 1341,

1343; see also United States v. Chandler, 376 F.3d 1303, 1311 (11th

Cir. 2004) (“The phrasing of the statute in the disjunctive

prohibits   two   separate   unlawful    acts,   each    constituting       an

independent ground for prosecution.”); United States v. Cronic, 900

F.2d 1511, 1513 (10th Cir. 1990) (“Although largely overlapping, a

scheme to defraud, and a scheme to obtain money by means of false

or fraudulent pretenses, representations, or promises, are separate

offenses.”); United States v. Clausen, 792 F.2d 102, 104-05 (8th

Cir. 1986) (“Courts have construed this statute to forbid both

schemes to defraud, whether or not any specific misrepresentations

are involved, and schemes to obtain money or property by means of

false or fraudulent pretenses, representations, or promises.”).

     The statute’s dichotomy is persuasively analyzed in United

States v. Hedaithy:


     We explained the interaction between the first and second
     clauses of § 1341 in United States v. Thomas, 315 F.3d
     190 (3d Cir. 2002), in which we stated that “Congress
     intended the second dependent clause of the mail fraud
     statute to broaden the scope of the first clause. The
     mail fraud statute was thus intended to cover ‘any scheme
     or artifice to defraud [one of his money or property],’
     including any ‘[scheme] for obtaining money or property
     by means of false or fraudulent . . . promises.’” Id. at
     198 (quoting McNally, 483 U.S. at 351, 107 S.Ct. 2875)
     (second alteration in original).       Under Defendants’

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       interpretation of § 1341, however, the statute would
       cover “any scheme or artifice to defraud [one of his
       money or property],” but limited to any “[scheme] for
       obtaining money or property.”   Such an interpretation
       contravenes our holding in Thomas and we must therefore
       reject it.


392 F.3d at 602 (footnote omitted).                  Defendants in this case are

arguing for the same limitation on schemes to defraud and, for the

reasons explained in Hedaithy and similar cases, the argument must

be rejected.

       As also seen in Hedaithy above, Defendants’ reliance on

McNally     v.    United     States,     107    S.   Ct.    2875   (1987),   for   the

proposition that the “obtain” language in the second clause wholly

limits the scope of the “schemes to defraud” punishable under

§ 1343 is misplaced.          See Document No. 964 at 7-11.              McNally held

that Congress, by adding the second clause, “or for obtaining money

or     property        by   means   of    false      or     fraudulent    pretenses,

representations, or promises,” intended to clarify that a “scheme

to defraud” also includes “‘everything designed to defraud by

representations as to the past or present, or suggestions and

promises as to the future.’”                   McNally, 107 S. Ct. at 2880-81

(quoting Durland v. United States, 16 S. Ct. 508, 511 (1896)).                     In

doing so, Congress did not depart from the historical understanding

of    “fraud”     as    embedded    in   the    first      clause,   which   requires

“wronging one in his property rights by dishonest methods or

schemes.” Id. at 2881 (emphasis added). Thus, the two clauses are


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read conjunctively only insofar as McNally interpreted both to

require the deprivation of money or property as the object of the

fraud. However, as discussed above, it is well-recognized that the

first and second clauses, in terms of the manner of executing the

fraud, prescribe separate offenses.        See, e.g., Caldwell, 302 F.3d

at 406.    McNally itself observed that the words “to defraud,” as

used in the first clause, “usually signify the deprivation of

something of value by trick, deceit, chicane or overreaching.”

McNally, 107 S. Ct. at 2881 (quoting Hammerschmidt v. United

States, 44 S. Ct. 511, 512 (1924)) (emphasis added). One therefore

may by dishonest means seek to defraud another of money or property

without intending to obtain or to appropriate that interest for

himself.


     2.    Legal Sufficiency of the Alleged Shareholder Property


     Defendants contend that the shareholders’ intangible property

right implicated in the Indictment--access to accurate corporate

information--is not a cognizable property right sufficient to

support the wire fraud charges.          See Document No. 964 at 12-17;

Document   No.   952   at   15-18.   Defendants    argue   that   the   only

intangible rights recognized under § 1343 are those involving

honest services.       However, the mere intangibility of a property

right “does not make it any less ‘property’ protected by the mail

and wire fraud statutes.”       Carpenter v. United States, 108 S. Ct.


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316,   320-21     (1987)    (holding   that    a     scheme   to    misappropriate

confidential business information fell within the scope of § 1341);

see also Cleveland, 121 S. Ct. at 371 (citing Carpenter with

approval); United States v. Little, 889 F.2d 1367, 1368-69 (5th

Cir.   1989)    (recognizing       valuable   economic        information    as    an

intangible property right).

       Although    the     Fifth   Circuit    has    not    adjudged     whether    a

shareholder’s right to accurate corporate information constitutes

a cognizable intangible property interest in the context of §§ 1341

or 1343, the Second Circuit provides persuasive precedent in United

States v. Wallach, 935 F.2d 445, 450-54, 460-64 (2d Cir. 1991),

which had a factual scenario similar to the instant case.                          In

Wallach, the defendants, third-party consultants, were convicted of

mail fraud, in concert with corporate officials, for hiding from

shareholders the true nature of compensation packages the company

offered   to    the    consultants     in    order    to    avoid    negative     tax

implications, skirt the Securities and Exchange Commission (“SEC”),

and artificially inflate revenue and profit numbers.                   Id. at 450-

54, 460-61.

       Drawing from decisions in which courts have recognized the

deprivation       or     inaccurate    reporting       of     material    economic

information as a deprivation of “property” under the mail and wire

fraud statutes--including the Fifth Circuit’s opinion in Little--

the court explained that a shareholder’s ownership interest in the


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corporation carries with it certain ancillary property rights

necessary to preserve and protect that interest:


     A stockholder’s right to monitor and to police the
     behavior of the corporation and its officers is a
     property interest.    This incident of stock ownership
     represents one way that a shareholder can protect the
     value of his or her investment.      The maintenance of
     accurate books and records is of central importance to
     the preservation of this property interest.         “The
     stockholders’ right of inspection of the corporation’s
     books and records rests upon the underlying ownership by
     them of the corporation’s assets and property” and is an
     incident of “ownership of the corporate property.”
     Indeed, given the important role that information plays
     in the valuation of a corporation, the right to complete
     and accurate information is one of the most essential
     sticks in the bundle of rights that comprise a
     stockholder’s property interest.


Id. at 462-63.    The court concluded that the mail fraud statute

encompassed the defendants’ use of the mails to “misrepresent the

nature of the transactions in which they were involved[,]” thereby

“obscur[ing]” the value of the corporate stock and depriving the

corporation and its shareholders “of the opportunity to make

informed decisions.”    Id. at 463-64.

     The wire fraud alleged in this Indictment is premised on

Enron’s ostensible sale of the Nigerian barges to Merrill Lynch

when, in fact, Defendants and Merrill Lynch allegedly agreed to the

transaction   only   because   the   “purchase”    was   not   real.    The

Indictment charges that there was an “oral ‘handshake’ side-deal

that Merrill Lynch would receive a rate of return of approximately

22% and that Enron would sell the barges to a third party or

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repurchase the barges within six months”; hence, Merrill Lynch’s

supposed equity investment was not truly “at risk” and Enron’s

executives should not have treated the transaction as a sale from

which earnings and cashflow could be recorded in 1999.              The fact

that the transaction was reported to Enron’s shareholders and the

public as a bona fide sale for which earnings were reported

necessarily deprived the shareholders of their right to complete

and accurate information, and allegedly made Enron appear more

profitable to the public than it was in fact.         Id. at 4-5.    Through

the foregoing scheme, Defendants deprived Enron’s shareholders of

access to accurate corporate information and undermined their

ability   “to   police   the   behavior   of   the   corporation    and   its

officers,” thereby impairing their ability effectively to protect

their ownership interest in Enron.        See Wallach, 935 F.2d at 463.

Wallach, which itself relies on analogous Fifth Circuit precedent,

supports the conclusion that accurate shareholder information is a

legally cognizable intangible “property” right within the meaning

of the wire fraud statute.3




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       Defendants also suggest that recognizing a property right in
accurate shareholder information would impermissibly overlap with
federal securities laws. See Document No. 964 at 15-17; Document
No. 952 at 18. However, “[t]he Federal Criminal Code is replete
with provisions that criminalize overlapping conduct. The mere
fact that two federal criminal statutes criminalize similar conduct
says little about the scope of either.”      Pasquantino v. United
States, 125 S. Ct. 1766, 1773 n.4 (2005) (internal citations
omitted).

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       3.    Enron As a Victim

             a.     Implications of the Brown decision


       Defendants also assert that the Fifth Circuit’s opinion in

United States v. Brown, 459 F.3d 509 (5th Cir. 2006), forecloses

the treatment of Enron as a victim of the alleged scheme to

defraud.     See Document No. 964 at 3-7; Document No. 952 at 16-18.

In Brown, the Fifth Circuit held that Defendants could not have

conspired to or schemed to defraud Enron of honest services under

§ 1346.     See Brown, 459 F.3d at 518-23.        Its decision rested on the

fact    that      the    dishonest    conduct    of     Enron   officials    was

“disassociated from bribery or self-dealing and indeed associated

with and concomitant to the employer’s own immediate interest.”

Id. at 522.       Because the Fifth Circuit held the honest services

theory of wire fraud legally insufficient, it went no further in

its analysis of the wire fraud charges.               Id. at 522-23.

       In fact, the Fifth Circuit “specifically” limited its analysis

in Brown to the honest services theory of wire fraud, without

reaching money or property wire fraud.             Id.    The court expressly

stated that its “opinion should not be read to suggest that no

dishonest, fraudulent, wrongful, or criminal act has occurred.               We

hold only that the alleged conduct is not a federal crime under the

honest-services         theory   of   fraud   specifically.”      Id.   at   523

(emphasis in original).           Brown stated that “the Government must

turn to other statutes, or even the wire fraud statutes absent the

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component   of    honest   services,     to   punish   this   character      of

wrongdoing.”     Id. 522-23 (emphasis added).4

      The Third Superseding Indictment, with the honest services

theory now stricken, charges Defendants only with wire fraud and

conspiracy to commit wire fraud under a money or property theory

and falsification of books and records theory.           See Document No.

937 at 9, 12. Although Brown exclusively analyzed the Government’s

honest services theory of wire fraud, and expressly declined to

“address the viability of the Government’s remaining theories of


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       Defendants also highlight Brown’s characterization of Enron
as a “willing beneficiary” to suggest that Enron cannot be a
victim. See Document No. 964 at 4 (citing Brown, 459 F.3d at 522-
23 n.13). However, like the entire Brown discussion regarding wire
fraud, this term and its application apply only to the honest
services theory of wire fraud and not to a money or property
theory. See Brown, 459 F.3d 523. Moreover, a corporation and its
shareholders enjoy identities separate and distinct from corporate
officers or directors.      See Wallach, 935 F.2d at 462, 464
(recognizing the separate roles played by shareholders, directors,
officers, and the corporation itself).        Hence, the alleged
involvement of Enron insiders in the alleged scheme does not
preclude Enron from being a victim. Id. at 464. As the court in
Wallach held:

      We cannot accept defendants’ argument that the directors
      and officers of the corporation have the authority to act
      on behalf of the shareholders and the corporation and
      that therefore a criminal fraud cannot be perpetrated
      when all the officers are participants in the scheme.
      Defendants would have us endorse a theory of criminal law
      that would effectively grant corporate officials and
      third-parties working in concert with them a license to
      loot the corporate treasury as long as they were all in
      on the scheme. . . . Such a theory completely fails to
      recognize and to protect the property interests of the
      shareholders and the corporation.

Id.

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criminal liability (the money-or-property and books-and-records

charges),” Brown, 459 F.3d at 523, the Circuit’s simultaneous

statement that the “Government must turn to other statutes, or even

the wire fraud statutes absent the component of honest services,”

id., on balance leads to the conclusion that Brown does not exclude

Enron as a victim of the money or property theory of wire fraud

alleged in the Indictment.


           b.    Dismissal on the Basis of Double Jeopardy


     Relying on their interpretation of Brown, however, Defendants

assert that to re-try them on a theory that Enron was a victim

would violate the Double Jeopardy Clause.        See Document No. 964 at

3-6; Document No. 1022 at 1-2.      According to Defendants, the money

and property theory of fraud remaining in the Indictment depends on

proof that Enron employees with whom Defendants allegedly conspired

necessarily deprived Enron of the honest services of those Enron

employees--the very theory invalidated in Brown.           Asserting that

there is a “logically inextricable connection” between the honest

services and money and property theories of wire fraud with respect

to the Enron employees, the Merrill Lynch Defendants argue that the

Double Jeopardy Clause will be violated if they are retried for

conduct committed jointly with those Enron employees--allegedly to

victimize Enron by defrauding it of money and property--when the




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Fifth Circuit has held that Enron was not deprived of the honest

services of those same employees on the same set of facts.

        The Double Jeopardy Clause of the Fifth Amendment incorporates

the doctrine of collateral estoppel.         See Ashe v. Swenson, 90 S.

Ct. 1189, 1195 (1970).     “Collateral estoppel guarantees that ‘when

an issue of ultimate fact has once been determined by a valid and

final judgment, the issue cannot again be litigated between the

same parties in any future lawsuit.’”        United States v. Brackett,

113 F.3d 1396, 1398 (5th Cir. 1997) (quoting Ashe, 90 S. Ct. at

1194)).     The doctrine of collateral estoppel completely bars a

subsequent prosecution “when an issue of ultimate fact has once

been determined by a valid and final judgment.”        Ashe, 90 S. Ct. at

1194.

        The Court’s opinion in Brown emphasizes in italics that its

holding is “only that the alleged conduct is not a federal crime

under the honest-services theory of fraud specifically.”             Brown,

459 F.3d at 523 (emphasis in original).            The Court traced the

history of § 1346, which criminalizes the deprivation of another’s

“intangible right of honest services.”           The Court declared its

agreement with the Second Circuit in United States v. Rybicki, 354

F.3d 124 (2d Cir. 2003), and construed the statute to proscribe

either bribery and kickbacks or self-dealing, which were not

present here. Given the Fifth Circuit’s narrow construction of the

statute, it does not necessarily follow that Enron’s employees


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still could not have conspired and schemed with the Merrill Lynch

Defendants to defraud Enron of money and property that did not

entail bribery, kickbacks, or self-dealing by Enron’s employees.

       Brown concluded that the legal insufficiency of the honest

services theory underlying the general verdict on charges of wire

fraud and conspiracy required reversal of Defendants’ convictions

pursuant to Yates v. United States, 77 S. Ct. 1064, 1073 (1957)

(holding that the legal invalidity of one of multiple theories of

criminal liability underlying a general verdict of conspiracy

requires reversal of the conviction).        See Brown, 459 F.3d at 517,

523.     It is well settled that “[t]he successful appeal of a

judgment of conviction, on any ground other than the insufficiency

of the evidence to support the verdict, poses no bar to further

prosecution on the same charge.” United States v. Scott, 98 S. Ct.

2187, 2193-94 (1978). Given Brown’s construction of § 1346 and the

emphatic limitation of its holding to the honest services theory as

so construed, its express citation to Yates as mandating reversal,

and the Court’s determination that the honest services theory was

legally, not factually, insufficient, Defendants’ double jeopardy

argument lacks merit.      Defendants may properly be retried on the

independent money and property theory of wire fraud, both as a




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stand-alone offense, and as a predicate offense to the conspiracy

charge.5


               c.    Interlocutory Appeal of Double Jeopardy Claim


        Alternatively, Defendants request that this Court certify

their       Double   Jeopardy   claim   as   non-frivolous   to   enable     an

interlocutory appeal on this issue.            “[T]he denial of a double

jeopardy motion is an appealable order under 28 U.S.C. § 1291.”

United States v. Dunbar, 611 F.2d 985, 987 (5th Cir. 1980) (en

banc) (citing Abney v. United States, 97 S. Ct. 2034 (1977)).

Whether a trial should be delayed pending interlocutory resolution

of a double jeopardy claim depends on the court’s express findings

that such claim is not frivolous.            See id. at 987-88.     “If the

claim is frivolous, the filing of a notice of appeal by the

defendant shall not divest the district court of jurisdiction over

the case.       If nonfrivolous, of course, the trial cannot proceed


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        Defendants also contend that, pursuant to Brown, the law-
of-the-case doctrine precludes relitigation of Enron’s status as a
victim of the alleged fraud. See Document No. 964 at 6-7. As
discussed above, because Brown reversed “under the honest-services
theory of fraud specifically,” the court declined to “address the
viability of the Government’s remaining theories of criminal
liability,” including the money or property theory of wire fraud.
Brown, 459 F.3d at 523. Defendants’ subsequent prosecution under
a theory that Brown did not consider or adjudicate will not require
the trial court to revisit issues of fact or law definitively
resolved on appeal so as to implicate the law-of-the-case doctrine.
See, e.g., United States v. Beccara, 155 F.3d 740, 752 (5th Cir.
1998) (stating that the law-of-the-case doctrine precludes the
district court from revisiting issues of law or fact decided on
appeal).

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until a determination is made of the merits of an appeal.”            Id. at

988; see also United States v. Angleton, 221 F. Supp. 2d 696, 703

(S.D. Tex. 2002) (Rosenthal, J.) (stating that courts should not

stay proceedings if a double jeopardy claim is frivolous or sought

merely for purposes of delay).

     The Fifth Circuit has instructed that courts should apply the

literal meaning of the term “frivolous” when determining whether to

stay the case pending interlocutory appeal, bearing in mind that

the frivolousness inquiry is intended to prevent dilatory claims,

not colorable ones.     See United States v. Kalish, 690 F.2d 1144,

1154 (5th Cir. 1982); see also Angleton, 221 F. Supp. 2d at 736-37.

For instance, “whether arguments are frivolous for the purpose of

imposing sanctions, courts examine whether ‘they are warranted by

existing   law   or   any   plausible    good   faith   argument    for   the

extension, modification or reversal of existing law.’”             Angleton,

221 F. Supp. 2d at 739 (quoting Reed v. Commercial State Bank of El

Campo, 861 F.2d 1381, 1383 (5th Cir. 1988)); see also FED. R. CIV.

P. 11(b)(2).     The Supreme Court has noted that a double jeopardy

plea is considered non-frivolous if it is “colorable,” that is, a

claim to which “there is some possible validity.”            Richardson v.

United States, 104 S. Ct. 3081, 2034 n.6 (1984).

     This Court’s reading of Brown, set forth above, depends in

large measure upon the Fifth Circuit’s emphatic limitation of its

review to, and narrow construction of, § 1346, and its expressed


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declination to “address the viability of the Government’s remaining

theories of criminal liability (the money-or-property and books-

and-records charges).”        Brown, 459 F.3d at 523.           Those same

factors, however, also support an inference that the Fifth Circuit

may not have considered the syllogistic argument now advanced by

Defendants, namely, that (1) Brown holds that Defendants and Enron

employees on the scheme to defraud alleged in this case did not

deprive Enron of its intangible right to honest services of its

implicated   employees;     (2)   Defendants    are   now    charged   with

conspiring and acting jointly with the same Enron employees on the

same scheme to defraud Enron of its money and property; and (3) to

try Defendants on the latter charge necessarily requires proof that

Enron was deprived of the intangible right to the honest services

of its implicated employees, which subjects Defendants to double

jeopardy.

     This Court has concluded that while proof of Defendants and

Enron employees jointly conspiring and acting to defraud Enron of

money and property would implicate one’s common understanding of

honest services owed to Enron by its employees, Brown expressly

limits its holding to this scheme not constituting a crime under

§ 1346. This is because the appellate court essentially interprets

§ 1346 as proscribing only bribery, kickbacks, and self-dealing.

Whether this is a bright-line limitation on the reach of § 1346,

however, appears somewhat doubtful. For example, Brown limited “to


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its facts” and did not attempt “to call into question the result”

adjudged in United States v. Gray, 96 F.3d 769 (5th Cir. 1996),

which affirmed convictions of mail and wire fraud to deprive an

employer of its employees’ honest services under § 1346 where the

crime involved no bribery, kickbacks, or self-dealing.          Brown, 459

F.3d at 522-23, n.13.     Moreover, Brown does not discuss the inter-

relationship of the underlying theories of wire fraud all based on

the same alleged scheme and set of facts. Even the Circuit Court’s

conclusion that the “Government must turn to other statutes, or

even the wire fraud statutes absent the component of honest

services, to punish this character of wrongdoing,” id. at 523

(emphasis added), seems to be written more in the abstract rather

than as a specific approval for retrying these Defendants on this

Third Superseding Indictment as now redacted.           Moreover, neither

side has cited any authority, and the Court has found none,

analyzing the Government’s ability to prosecute wire fraud on a

money and property theory when the victim is an employer of persons

charged in the scheme and where the underlying conduct of the

employees has been held not to constitute a scheme to defraud the

victim   of   the   employees’   honest   services,   let   alone   a   case

examining the interplay between these theories in the context of a

factually similar indictment.       The Court therefore must conclude

that Defendants’ double jeopardy argument at least meets the

threshold of not being frivolous, as that term is explained in


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Dunbar and Kalish, and Defendants have not advanced their argument

solely for the purpose of delay. Accordingly, if Defendants timely

perfect an interlocutory appeal of this Order under Abney and

Dunbar, this Court will not be able to proceed in this case until

the Court of Appeals determines the merits of Defendants’ double

jeopardy claim.


B.      Conspiracy to Falsify Books and Records


        Defendants also challenge the conspiracy to falsify books and

records charge.      See Document No. 964 at 18-24; Document No. 952 at

18-36.       Defendants contend that because § 78m(b) governs the

conduct of “issuers,” there can be no criminal liability when a

third party conspires with an issuer to falsify books or records.

See    Document No. 964 at 18-24; Document No. 952 at 18-29.           Section

78m(b) states:


        (2) Every issuer which has a class of securities
        registered pursuant to section 78l of this title and
        every issuer which is required to file reports pursuant
        to section 78o(d) of this title shall--

              (A) make and keep books, records, and
              accounts,   which,   in   reasonable   detail,
              accurately and fairly reflect the transactions
              and dispositions of the assets of the issuer;

              (B) devise and maintain a system of internal
              accounting controls sufficient to provide
              reasonable assurances that--

                    (i) transactions are executed in
                    accordance with management’s general
                    or specific authorization;

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        . . . .

        (4) No criminal liability shall be imposed for failing to
        comply with the requirements of paragraph (2) of this
        subsection except as provided in paragraph (5) of this
        subsection.

        (5) No person shall knowingly circumvent or knowingly
        fail to implement a system of internal accounting
        controls or knowingly falsify any book, record, or
        account described in paragraph (2).


15 U.S.C. § 78m(b)(2), (4)-(5).              Assuming, arguendo, § 78m(b)

creates liability only for “issuers,” Defendants’ argument is still

flawed.

        Title 18, Section 371, of the United States Code criminalizes

conspiracy to “commit any offense against the United States.”

18 U.S.C. § 371.      The general conspiracy rule proclaims § 371 to be

“‘a broad and comprehensive provision denouncing conspiracies to

commit offenses created by any of the statutes of the United

States.’”       U.S. v. Gibson, 881 F.2d 318, 321 (6th Cir. 1989)

(quoting Thomas v. United States, 156 F. 897, 901 (8th Cir. 1907)).

Accordingly, “the incapacity of a person to commit the substantive

offense does not necessarily imply that he may conspire with others

to     commit   the   offense    with   impunity,    since   the   state    may

criminalize the collective planning of the criminal conduct.”

United States v. Castle, 925 F.2d 831, 833 (5th Cir. 1991) (citing

Gebardi v. United States, 53 S. Ct. 35, 37 (1932)); see also

Salinas v. United States, 118 S. Ct. 469, 477 (1997).                      “For


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example, it is a crime for a bankrupt to conceal property from his

trustee,   and   thus   only    bankrupts    may   be    convicted   of     the

substantive offense of concealing property.              But convictions of

others for conspiring with the bankrupt to conceal property have

been upheld.”    Castle, 925 F.2d at 833.

     A limited exception to the general conspiracy rule exists when

“Congress intend[s] in [statutes] to deter and punish certain

activities which necessarily involve[] the agreement of at least

two people, but Congress [chooses] in [the] statutes to punish only

one party to the agreement.”          Id. at 833, 836 (applying this

exception to find that foreign officials who accepted bribes were

exempt from prosecution for conspiracy to violate the Foreign

Corrupt    Practices    Act    (“FCPA”)     because     that   statute     only

criminalized the conduct of the payors) (footnote omitted); see

also Gebardi, 53 S. Ct. at 36-37 (holding that women who agreed to

be transported across state lines for illicit purposes could not be

prosecuted for conspiracy to violate the Mann Act because the Act

only criminalized the conduct of the transporters).

     In this case, § 78m(b) criminalizes the knowing falsification

of corporate books and records by issuers of securities.                 See 15

U.S.C. § 78m(b).    Unlike the Mann Act and the bribery provision in

the FCPA, which each require participation by at least two parties

but where Congress has criminalized the conduct of only one and not

the other, the conduct proscribed by § 78m(b) does not require


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participation by a second party whose conduct is not criminalized

by the statute.          See id.; see also United States v. Lake, 472 F.3d

1247, 1263-67 (10th Cir. 2007) (concluding that the exception

articulated in Gerbardi and Castle would not invalidate a charge of

conspiracy to circumvent the internal accounting controls required

in    §       78m(b)   because   participation   of   another   person   is   not

necessary to violate the substantive offense).                  Therefore, the

exception to the general conspiracy rule is inapplicable.                Just as

non-bankrupt persons can conspire with a bankrupt petitioner to

hide the bankrupt’s assets, so too can non-issuers conspire with

issuers to falsify the issuer’s books and records--as it is alleged

that Defendants did here.6


          6
       Defendants also argue that because Enron was “a massive user
of capital, closing more than fifty financing deals annually
totaling $20 billion or more,” the relatively small Nigerian Barge
transaction was immaterial as a matter of law, and therefore the
books and records charge must be dismissed. See Document No. 952
at 30-36 (internal quotation marks omitted).        Materiality is
governed by a “reasonable investor” standard. Isquith v. Middle S.
Utils., Inc., 847 F.2d 186, 208 & n.16 (5th Cir. 1988) (citing
Durning v. First Boston Corp., 815 F.2d 1265, 1268 (9th Cir. 1987))
(applying principles of materiality in discussing the standards
governing the very similar issue of adequacy of disclosure). “The
test for determining whether or not a fact is material is whether
‘there is a substantial likelihood that a reasonable shareholder
would consider it important in deciding how to vote.’” Durning,
815 F.2d at 1268 n.4 (quoting TSC Indus. Inc. v. Northway, Inc., 96
S. Ct. 2126, 2132 (1975)). Thus, the size of the Nigerian Barge
transaction in proportion to Enron’s annual dealings is incon-
sequential to the analysis of materiality. Moreover, assuming,
without deciding, that materiality is required to violate § 78m(b),
generally, “materiality is a question for the jury, not the court.”
United States v. McGuire, 99 F.3d 671, 672 (5th Cir. 1996) (citing
United States v. Gaudin, 115 S. Ct. 2310 (1995)); see also S.E.C.
v. World-Wide Coin Invs., Ltd., 567 F. Supp. 724, 748-50 (D.C. Ga.

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     For the foregoing reasons, Defendants Daniel Bayly’s, James

Brown’s, and Robert Furst’s Motions to Dismiss (Document Nos. 952

and 964) are hereby DENIED.      However, Defendants’ contention that

the Double Jeopardy Clause will be violated if they are retried for

wire fraud on the money and property theory is found to be a

colorable, non-frivolous contention.

     It is SO ORDERED.

     The Clerk will enter this Order, providing a correct copy to

all counsel of record.

     SIGNED in Houston, Texas, on this 7th day of January, 2008.




                               ____________________________________
                                        EWING WERLEIN, JR.
                                   UNITED STATES DISTRICT JUDGE




1983) (holding that the SEC is not required to prove materiality to
establish a violation of section 13(b)(2) of the Securities and
Exchange Act of 1994, codified at § 78m(b)(2)).

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